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                          UNITED STATES DISTRICT COURT
                        FOR NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

COMMONWEALTH OF
MASSACHUSETTS,

and
                                                         No. 20 C 2658
STATE OF WISCONSIN,
                                                         Judge Feinerman
                      Plaintiffs,

v.

DAIRY FARMERS OF AMERICA, INC.

and

DEAN FOODS COMPANY,

                      Defendants.



UNITED STATES’ NOTICE RELATING TO THE EXTENSION OF THE PERIOD FOR
               DFA TO DIVEST THE DIVESTITURE ASSETS


        Pursuant to Paragraph IV.A. of the proposed Final Judgment filed with this Court, the
United States hereby notifies the Court that it has extended the time period for Dairy Farmers of
America (“DFA”) to divest the Divestiture Assets (as defined in the proposed Final Judgment)
for an additional 15 days.

         Under the proposed Final Judgment, DFA had until June 1, 2020 to divest the Divestiture
Assets, and the United States has sole discretion to grant extensions of up to 60 additional days.
Because DFA had been working diligently to divest the Divestiture Assets, the United States
extended the time period for DFA to market the Divestiture Assets for 30 days on June 1, 2020.
See Joint Status Report, Docket No. 20, at 4. The proposed Final Judgment allows the United
States, in its sole discretion, to further extend the time period for up to an additional 30 days.

       DFA has continued to work diligently to divest the Divestiture Assets. Pursuant to
Paragraph IV.A. of the proposed Final Judgment, the United States has extended the time period
for DFA to market the Divestiture Assets for 15 additional days based on DFA’s representations
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and in anticipation of DFA entering into a contractual agreement during this period for the
Harvard Plant and De Pere Plant (as defined in the proposed Final Judgment).

Dated: July 1, 2020

                                                    Respectfully submitted,

                                                            /s/ Karl D. Knutsen
                                                    Karl D. Knutsen
                                                    Justin Heipp
                                                    Nathaniel J. Harris
                                                    Christopher A. Wetzel
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                                                    Antitrust Division
                                                    Healthcare and Consumer Products Section
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                                CERTIFICATE OF SERVICE

I, Karl D. Knutsen, hereby certify that on July 1, 2020, I caused a copy of the foregoing
Notice to be served on Defendants by mailing the document electronically to their duly
authorized legal representatives as follows:

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